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 1   David M. Barkan (State Bar No. 160825/barkan@fr.com)
     Craig R. Compton (State Bar No. 215491/compton@fr.com)
 2   Jonathan J. Lamberson (State Bar. No. 239107/Lamberson@fr.com)
     FISH & RICHARDSON P.C.
 3   500 Arguello Street, Suite 500
     Redwood City, California 94063
 4   Telephone: (650) 839-5070
     Facsimile: (650) 839-5071
 5
     Attorneys for Plaintiff YODLEE, INC.
 6
     Josh A. Krevitt (State Bar No. 208552/jkrevitt@gibsondunn.com)
 7   Richard M. Koehl (Admitted pro hac vice/rkoehl@gibsondunn.com)
     Anne Champion (Admitted pro hac vice/achampion@gibsondunn.com)
 8   GIBSON, DUNN & CRUTCHER LLP
     200 Park Avenue
 9   New York, NY 10166-0193
     Telephone: (212) 351-4000
10   Facsimile: (212) 351-4035
11   Wayne M. Barsky (State Bar No. 116731/wbarsky@gibsondunn.com)
     Sarah Piepmeier (State Bar No. 227094/spiepmeier@gibsondunn.com)
12   GIBSON, DUNN & CRUTCHER LLP
     One Montgomery Street, Suite 3100
13   San Francisco, CA 94104
     Telephone: (415) 393-8200
14   Facsimile: (415) 374-8404
15   Attorneys for Defendant CASHEDGE, INC.
16                                UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
18                                    (SAN FRANCISCO DIVISION)
19   YODLEE, INC.,                                        Case No. C 05-01550 (SI)

20                                Plaintiff,              STIPULATION AND [PROPOSED]
                                                          ORDER RE DISMISSAL OF CASE
21          v.                                            WITHOUT PREJUDICE
22   CASHEDGE, INC.,

23                                Defendant.

24

25          Pursuant to the parties’ settlement agreement, Plaintiff Yodlee, Inc., and Defendant
26   CashEdge, Inc., by and through their undersigned counsel of record, hereby stipulate and move for
27   an order dismissing the above-captioned case, including all claims and counterclaims, without
28   prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1). This Order supersedes the Order of
                                                      1
                                                             STIPULATION AND [PROPOSED] ORDER RE DISMISSAL
                                                                                 OF CASE WITHOUT PREJUDICE
                                                                                        Case No. C 05-01550 (SI)
            Case
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 1   Conditional Dismissal entered on September 19, 2007. The parties further stipulate that each party

 2   shall be responsible for its own costs and attorneys fees related to this action.

 3   Dated: September 21, 2007                          Dated: September 21, 2007

 4   FISH & RICHARDSON P.C.                             GIBSON, DUNN & CRUTCHER LLP
 5

 6   By:      /s/ David M. Barkan                     By:    /s/ Josh A. Krevitt
 7            David M. Barkan                                Josh A. Krevitt

 8   Attorneys for Plaintiff                          Attorneys for Defendant
     YODLEE, INC.                                     CASHEDGE INC.
 9

10

11                                             DECLARATION
12            Pursuant to General Order No. 45, Section X(B) regarding signatures, I attest under penalty
13   of perjury that concurrence in the filing of this document has been obtained from Josh A Krevitt.
14   Dated: September 21, 2007                          FISH & RICHARDSON P.C.
15
                                                        By: \s\ David M. Barkan
16                                                          David M. Barkan
17
                                                        Attorneys for Plaintiff
18                                                      YODLEE, INC.

19                                                   ORDER
20            PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims and
21   counterclaims in this case are dismissed without prejudice.
22             9/24/07
     Dated: _______________, 2007
23
                                                        Honorable Susan Illston
24                                                      United States District Judge
25

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                                                               STIPULATION AND [PROPOSED] ORDER RE DISMISSAL
                                                                                   OF CASE WITHOUT PREJUDICE
                                                                                          Case No. C 05-01550 (SI)
